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               IN THE UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION


UNITED STATES OF AMERICA

vs.                                                 3:08cr46/LAC
                                                    3:09cv410/LAC/MD

SCOTT KERLE


                        REPORT AND RECOMMENDATION

       This matter is before the court upon a motion to vacate, set aside, or correct
sentence pursuant to 28 U.S.C. §2255 (doc. 292). The government has filed a
response (doc. 296) and the defendant has not filed a reply despite having been
afforded an opportunity to do so. This matter is referred to the undersigned
magistrate judge for report and recommendation pursuant to 28 U.S.C. § 636 and
N.D. Fla. Loc. R. 72.2(B). After a careful review of the record and the arguments
presented, it is the opinion of the undersigned that defendant has not raised any
issue requiring an evidentiary hearing, Rules Governing Section 2255 Cases 8(a) and
(b), and that the motion should be denied.


I. BACKGROUND
       Defendant Scott Kerle and seven others were charged in a two count
indictment with conspiracy to distribute and possess with intent to distribute 5
kilograms or more of a mixture and substance containing a detectable amount of
cocaine and 1,000 kilograms or more of a mixture and substance containing a
detectable amount of marijuana and possession with intent to distribute 5 kilograms
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of a mixture and substance containing a detectable amount of cocaine and 100
kilograms or more of a mixture and substance containing a detectable amount of
marijuana.       (Doc. 11).       Represented by appointed counsel Clinton Couch, the
defendant pleaded guilty pursuant to a written plea and cooperation agreement on
June 23, 2008 (doc. 105-107). The PSR reflected a base offense level of 36, a two-
level adjustment for a co-conspirator’s possession of a firearm during the
conspiracy and a three-level downward adjustment for acceptance of responsibility
for a total offense level of 35. Defendant had no criminal history, and thus a criminal
history category of I. The applicable guidelines range was 168 to 210 months
imprisonment. He filed objections to the PSR, but withdrew the objections before
the September 9, 2008 sentencing. Ultimately, he was sentenced to a term of 135
months imprisonment. He did not appeal.
        In the present motion, defendant alleges that he received ineffective
assistance of counsel because Mr. Couch failed to argue against a gun
enhancement, promised defendant that he would receive a sentence of no more than
seven years imprisonment, and spent insufficient time with him. Defendant asks
that the court remove the gun enhancement, resulting in a reduction in his sentence.
The government opposes the motion.


II. LEGAL ANALYSIS
        Because collateral review is not a substitute for direct appeal, the grounds for
collateral attack on final judgments pursuant to § 2255 are extremely limited. A
prisoner is entitled to relief under section 2255 if the court imposed a sentence that
(1) violated the Constitution or laws of the United States, (2) exceeded its
jurisdiction, (3) exceeded the maximum authorized by law or (4) is otherwise subject
to collateral attack. 28 U.S.C. § 2255; Thomas v. Crosby, 371 F.3d 782, 811 (11th Cir.
2004); United States v. Phillips, 225 F.3d 1198, 1199 (11th Cir. 2000); United States v.
Walker, 198 F.3d 811, 813 n.5 (11th Cir. 1999). “Relief under 28 U.S.C. § 2255 ‘is


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reserved for transgressions of constitutional rights and for that narrow compass of
other injury that could not have been raised in direct appeal and would, if condoned,
result in a complete miscarriage of justice.’” Lynn v. United States, 365 F.3d 1225,
1232 (11th Cir. 2004) (citations omitted). The “fundamental miscarriage of justice”
exception recognized in Murray v. Carrier, 477 U.S. 478, 496, 106 S. Ct. 2678, 2649,
91 L. Ed. 2d 397 (1986), provides that it must be shown that the alleged constitutional
violation “has probably resulted in the conviction of one who is actually innocent.
. . .”
          Ineffective assistance of counsel claims are generally not cognizable on direct
appeal and are properly raised by a § 2255 motion regardless of whether they could
have been brought on direct appeal. Massaro v. United States, 538 U.S. 500, 503,
123 S.Ct. 1690, 1693, 155 L.Ed.2d 714 (2003); see also United States v. Bender, 290
F.3d 1279, 1284 (11th Cir. 2002); United States v. Jiminez, 983 F.2d 1020, 1022, n. 1
(11th Cir. 1993). The benchmark for judging a claim of ineffective assistance of
counsel is “whether counsel's conduct so undermined the proper functioning of the
adversarial process that the trial cannot be relied on as having produced a just
result.” Strickland v. Washington, 466 U.S. 668, 686, 104 S.Ct. 2052, 2064, 80 L.Ed.2d
674 (1984). To show a violation of his constitutional right to counsel, defendant must
demonstrate both that counsel’s performance was below an objective and
reasonable professional norm and that he was prejudiced by this inadequacy. Id.,
466 U.S. 668, 686, 104 S.Ct. 2052, 2064, 80 L.Ed.2d (1984); Williams v. Taylor, 529
U.S. 362, 390, 120 S.Ct. 1495, 1511, 146 L.Ed.2d 389 (2000); Gaskin v. Secretary,
Dept. of Corrections, 494 F.3d 997, 1002 (11th Cir. 2007). “Strickland’s two-part test
also applies where a prisoner contends ineffective assistance led him or her to enter
an improvident guilty plea.” Yordan v. Dugger, 909 F.2d 474, 477 (11th Cir. 1990)
(citing Hill v. Lockhart, 474 U.S. 52, 106 S.Ct. 366, 88 L.Ed.2d 203 (1985)); United
States v. Pease, 240 F.3d 938, 941 (11th Cir. 2001). In applying Strickland, the court




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may dispose of an ineffective assistance claim if defendant fails to carry his burden
on either of the two prongs. 466 U.S. at 697, 104 S.Ct. at 2069.
        In determining whether counsel’s conduct was deficient, this court must, with
much deference, consider “whether counsel’s assistance was reasonable
considering all the circumstances.” Id. at 688, 104 S.Ct. at 2065; see also Dingle v.
Secretary for Dept. of Corrections, 480 F.3d 1092, 1099 (11th Cir. 2007); Atkins v.
Singletary, 965 F.2d 952 (11th Cir. 1992). “[R]eviewing courts must indulge a strong
presumption that counsel’s conduct fell within the wide range of reasonably
professional assistance.” Yordan v. Dugger, 909 F.2d 474, 477 (11th Cir. 1990) (citing
Harich v. Dugger, 844 F.2d 1464, 1469 (11th Cir. 1988); Dingle v. Secretary for Dept.
of Corrections, 480 F.3d 1092, 1099 (11th Cir. 2007); Chandler v. United States, 218
F.3d 1305, 1314 (11th Cir. 2000); Lancaster v. Newsome, 880 F.2d 362, 375 (11th Cir.
1989) (emphasizing that petitioner was “not entitled to error-free representation”)).
Counsel’s performance must be evaluated with a high degree of deference and
without the distorting effects of hindsight. Strickland, 466 U.S. at 689, 104 S.Ct. at
2065.     To show counsel’s performance was unreasonable, a defendant must
establish that “no competent counsel would have taken the action that his counsel
did take.” Gordon v. United States, 518 F.3d 1291, 1301 (11th Cir. 2008); United
States v. Freixas, 332 F.3d 1314, 1319-1320 (11th Cir. 2003); (quoting Brownlee v.
Haley, 306 F.3d 1043, 1059 (11th Cir. 2002)(quoting Strickland, 466 U.S. at 687, 689-90,
104 S.Ct. at 2064-66 and Chandler v. United States, 218 F.3d 1305, 1315 (11th Cir.
2000) (en banc)). When examining the performance of an experienced trial counsel,
the presumption that counsel’s conduct was reasonable is even stronger, because
“[e]xperience is due some respect.” Chandler, 218 F.3d at 1316 n. 18.
        With regard to the prejudice requirement, defendant must establish that, but
for counsel’s deficient performance, the outcome of the proceeding would have
been different. Strickland, 466 U.S. at 694, 104 S.Ct. at 2068. For the court to focus
merely on “outcome determination,” however, is insufficient; “[t]o set aside a


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conviction or sentence solely because the outcome would have been different but
for counsel’s error may grant the defendant a windfall to which the law does not
entitle him.” Lockhart v. Fretwell, 506 U.S. 364, 369-70, 113 S.Ct. 838, 122 L.Ed.2d
180 (1993). Defendant therefore must establish “that counsel’s errors were so
serious as to deprive the defendant of a fair trial, a trial whose result is reliable.”
Lockhart, 506 U.S. at 369 (quoting Strickland, 466 U.S. at 687). Or in the case of
alleged sentencing errors, defendant must demonstrate that there is a reasonable
probability that, but for counsel’s errors, the result of the proceeding would have
been less harsh due to a reduction in the defendant’s offense level. Glover v. United
States, 531 U.S. 198, 203-04, 121 S.Ct. 696, 700-01, 148 L.Ed.2d 604 (2001). A
significant increase in sentence is not required to establish prejudice, as “any
amount of actual jail time has Sixth Amendment significance.” Id.
        To establish ineffective assistance, defendant must provide factual support
for his contentions regarding counsel’s performance. Smith v. White, 815 F.2d 1401,
1406-07 (11th Cir.), cert. denied, 484 U.S. 863, 108 S.Ct. 181, 98 L.Ed.2d 133 (1987).
Bare, conclusory allegations of ineffective assistance are insufficient to satisfy the
Strickland test. Wilson v. United States, 962 F.2d 996, 998 (11th Cir. 1992); Tejada v.
Dugger, 941 F.2d 1551, 1559 (11th Cir. 1991); Stano v. Dugger, 901 F.2d 898, 899 (11th
Cir. 1990) (citing Blackledge, 431 U.S. at 74, 97 S.Ct. at 1629); United States v. Ross,
147 Fed.Appx. 936, 939 (11th Cir. 2005).
        Finally, the Eleventh Circuit has recognized that given the principles and
presumptions set forth above, “the cases in which habeas petitioners can properly
prevail . . . are few and far between.” Chandler v. United States, 218 F.3d 1305, 1313
(11th Cir. 2000). This is because the test is not what the best lawyers would have
done or even what most good lawyers would have done, but rather whether some
reasonable lawyer could have acted in the circumstances as defense counsel acted.
Dingle, 480 F.3d at 1099; Williamson v. Moore, 221 F.3d 1177, 1180 (11th Cir. 2000).
“Even if counsel's decision appears to have been unwise in retrospect, the decision


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will be held to have been ineffective assistance only if it was ‘so patently
unreasonable that no competent attorney would have chosen it.’” Dingle, 480 F.3d
at 1099 (quoting Adams v. Wainwright, 709 F.2d 1443, 1445 (11th Cir. 1983)). The
Sixth Circuit has framed the question as not whether counsel was inadequate, but
rather counsel’s performance was so manifestly ineffective that “defeat was
snatched from the hands of probable victory.” United States v. Morrow, 977 F.2d
222, 229 (6th Cir. 1992).
        Although section 2255 mandates that the court conduct an evidentiary hearing
“unless the motion and files and records conclusively show that the prisoner is
entitled to no relief,” a defendant must support his allegations with at least a proffer
of some credible supporting evidence. See Chandler v. McDonough, 471 F.3d 1360
(11th Cir. 2006) (citing Drew v. Dept. of Corrections, 297 F.3d 1278, 1293 (11th Cir.
2002) (referring to “our clear precedent establishing that such allegations are not
enough to warrant an evidentiary hearing in the absence of any specific factual
proffer or evidentiary support”); Hill v. Moore, 175 F.3d 915, 922 (11th Cir. 1999) (“To
be entitled to an evidentiary hearing on this matter [an ineffective assistance of
counsel claim], petitioner must proffer evidence that, if true, would entitle him to
relief.”); Ferguson v. United States, 699 F.2d 1071, 1072 (11th Cir. 1983). A hearing
is not required on frivolous claims, conclusory allegations unsupported by specifics,
or contentions that are wholly unsupported by the record. Peoples v. Campbell, 377
F.3d 1208, 1237 (11th Cir. 2004); Tejada v. Dugger, 941 F.2d 1551, 1559 (11th Cir. 1991);
Holmes v. United States, 876 F.2d 1545, 1553 (11th Cir. 1989) (citations omitted).
Likewise, affidavits that amount to nothing more than conclusory allegations do not
warrant a hearing. Lynn, 365 F.3d at 1239.


Failure to argue against gun enhancement
        Defendant contends that counsel was ineffective because he did not argue
against the gun enhancement. No mention was made of weapons in the factual


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basis for the plea presented by the government at the rearraignment. (Doc. 296-3 at
10-13). The two level gun enhancement under U.S.S.G. § 2D1.1 was based on the
seizure of firearms during the arrest of a co-conspirator transporting 25 kilograms
of cocaine as well as the seizure of a firearm from the residence of a co-conspirator,
which residence was used by the defendant and others to unload quantities of
marijuana brought by truck from Texas to Florida for redistribution. (See PSR ¶¶ 18,
22, 30, 36-38, 101, 165, 170, 171).
        Counsel states in his affidavit that in the initial response to the PSR he made
what he believed to be a well-founded objection to the application of the firearm
enhancement. Counsel notes that similarly situated co-defendant Eric Konrad Nitsch
made the same objection and it was sustained. However, counsel explains that he
withdrew his objection to rectify the difficult position defendant had created for
himself by being “less than truthful,” which led counsel to make objections and
allege facts that defendant knew were false. After discovering the truth, counsel
urged his client to correct himself, and as a result defendant instructed counsel to
withdraw all objections that were inconsistent with his complete and total
acceptance of responsibility. (Doc. 296-2 at 1). The PSR also reflects that defendant
did not provide all information and evidence he had concerning the conspiracy to
law enforcement during his initial debriefing, a fact that resulted in the government
objecting to the application of the safety valve in his case, as that provision requires
defendant’s truthful cooperation with the government. (PSR at ¶¶ 178-181; U.S.S.G.
§ 5C1.2). Counsel explains that he withdrew his objection upon his client’s request
in an effort to regain credibility and try to salvage a safety valve reduction for his
client. (Doc. 296-2 at 1).
        Withdrawal of the objection at the defendant’s behest enabled defendant to
qualify for the application of the safety valve, and a sentence of 135 months, well
below the previously determined sentencing guidelines range of 168-210 months.
(PSR ¶ 102, 143, 181; doc. 206).


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        The government argues that even if withdrawing the firearm objection was not
done at the defendant’s direction or with his consent, he has failed to establish that
the adjustment should not have been applied to him in this case. As noted above,
counsel stated in his affidavit that a similarly situated co-defendant’s objection to
the adjustment was sustained, but defendant himself provided no evidence or
argument in support of his position. The factual basis for the adjustment includes
the fact that one co-conspirator was armed when he was arrested while delivering
25 kilograms of cocaine. (PSR ¶ 22).             There was a firearm recovered from a
residence from which large quantities of marijuana were stored and distributed (PSR
¶¶ 7-18). The room where the weapon was located was used to prepare marijuana
for distribution. (PSR ¶ 18). Co-defendant Schimmel received kilogram quantities
of cocaine and marijuana at this residence from co-conspirators, including the
defendant, with whom he had frequent contact. (PSR ¶¶ 30, 34, 35, 36, 37, 38, 82,
90).
        In order for the two level firearm adjustment to apply, the defendant need not
personally possess the firearm. Co-conspirators “receive sentencing enhancements
on the basis of all reasonably foreseeable acts and omissions of others in
furtherance of the jointly undertaken criminal activity.” United States v. Suarez, 313
F.3d 1287, 1294 (11th Cir. 2002). The validity of the enhancement is established if the
government proves by a preponderance of the evidence that:

        (1) the possessor of the firearm was a co-conspirator; (2) the
        possession was in furtherance of the conspiracy; (3) the defendant was
        a member of the conspiracy at the time of possession; and (4) the
        co-conspirator possession was reasonably foreseeable by the
        defendant. See United States v. Gallo, 195 F.3d 1278, 1284 (11th Cir.
        1999).

Suarez, 313 F.3d at 1294. The possession of a firearm in a conspiracy involving
such large quantities of controlled substances is not unforeseeable. Defendant has



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not shown otherwise, or that counsel was constitutionally ineffective for
withdrawing the objection at his client’s behest.


Sentence in excess of sentence promised by counsel
        Defendant’s claim that counsel assured him that he would receive a sentence
of no greater than seven years imprisonment is refuted both by counsel’s affidavit
and by his own sworn testimony at his re-arraignment.
        In response to his former client’s allegation, Mr. Couch unequivocally states
in his affidavit that he “did no such thing,” and went on to say that he “never, ever,
tell[s his] clients what sentence they will receive in federal court.” (Doc. 296-2 at 1).
        Even more damaging to his case are defendant’s own statements made under
oath at his rearraignment proceeding, which was held before the undersigned. A
defendant’s statements during a Rule 11 colloquy as well as any findings made by
the judge accepting the pleas constitute a formidable barrier in any subsequent
collateral proceedings. Blackledge v. Allison, 431 U.S. 63, 73-74, 97 S.Ct. 1621, 1629,
52 L.Ed.2d 136 (1977); cf. Holmes v. United States, 876 F.2d 1545, 1550 (11th Cir.
1989) (trial court satisfied itself during Rule 11 colloquy of voluntary and
understanding nature of plea). Solemn declarations made under oath in open court
carry a strong presumption of verity. Blackledge, 431 U.S. at 73-74, 97 S.Ct. at 1629;
United States v. Medlock, 12 F.3d 185, 187 (11th Cir. 1994). They are presumptively
trustworthy and are considered conclusive absent compelling evidence showing
otherwise; the subsequent presentation of conclusory and contradictory allegations
does not suffice. Blackledge, 431 U.S. at 73-74, 97 S.Ct. at 1629; United States v.
Butt, 731 F.2d 75, 80 (1st Cir. 1984) (“[T]he presumption of truthfulness of
[defendant's] Rule 11 statements will not be overcome unless the allegations in the
§ 2255 motion....include credible, valid reasons why a departure from those earlier
contradictory statements is now justified.”); see also United States v. Gonzalez-
Mercado, 808 F.2d 796, 800 n.8 (11th Cir. 1987) (while not insurmountable, there is a


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strong presumption that statements made during a plea colloquy are true, citing
Blackledge and other cases); Downs-Morgan v. United States, 765 F.2d 1534, 1541
n. 14 (11th Cir. 1985); Potts v. Zant, 638 F.2d 727, 750-51 (5th Cir. 1981) (citing United
States v. Sanderson, 595 F.2d 1021 (5th Cir. 1979)). Consequently, a defendant
“bears a heavy burden to show his statements [under oath] were false.” United
States v. Rogers, 848 F.2d 166, 168 (11th Cir. 1988); United States v. Green, 2008 WL
1923102 (11th Cir. 2008) (Table, text in WESTLAW); United States v. Cardenas, 230
Fed.Appx. 933, 2007 WL 2119918 (11th Cir. 2007) (Table, text in WESTLAW).
        As noted above, defendant’s rearraignment was held before the undersigned.
At rearraignment, the government explained that defendant faced a ten year
minimum mandatory sentence. (Doc. 296-3 at 8-9). This court explained the concept
of “substantial assistance” to defendant, and how this could affect his sentence.
(Id. at 15).       It emphasized that whether defendant had provided substantial
assistance was a matter left entirely to the discretion of the United States Attorney
after defendant’s debriefing, and noted that there was no guarantee that such a
motion would be filed. Even if a substantial assistance motion was filed, the court
made clear that it would be up to the district court to decide whether to reduce
defendant’s sentence or not. Defendant indicated that he understood. (Id. at 16).
The court also reiterated that as of that date, counsel could not tell defendant what
his sentence would be, this court could not tell him what his sentence would be, the
United States Attorney could not tell him what the sentence would be, and therefore
the defendant did not know what his sentence would be. (Id.) Defendant agreed,
with no apparent hesitation. The court also explained that absent a motion for
substantial assistance, defendant would be sentenced to at least ten years, and he
again indicated his understanding. Finally the court following exchange took place:
      THE COURT: You are not gonna come back later and tell me [counsel]
promised you a particular sentence, he said judges go easy on people in this court,
you are looking at probably 18 months or –

        THE DEFENDANT: No, sir.

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        THE COURT: – anything like that?
        THE DEFENDANT: No, sir.
        THE COURT: You haven’t been promised anything in terms of a sentence?
        THE DEFENDANT: No, sir.
(Doc. 296-3 at 18-19).
        This record flatly contradicts the assertion defendant now makes in his § 2255
motion. He has offered nothing to show that the statements made under oath at the
rearraignment proceeding were unworthy of belief, and therefore, defendant is not
entitled to relief.1


Insufficient time with counsel
        Defendant also states that counsel spent little time with him, only around one
hour from the time counsel was appointed until sentencing. Again, counsel’s
affidavit and defendant’s own testimony refute this claim. In his affidavit, counsel
states that although he did not spend as much time with his client as he might have
if the defendant had wanted to go to trial, he ensured that his client had a complete
and thorough understanding of the charges he faced, the evidence against him, his
legal options, and the pros and cons of each of those options. Counsel notes that
his CJA billing affidavit, a conservative record of the time spent working on this
case, reflects 1 ½ hours in court and 21.7 hours out of court. Of course the 21.7
hours does not reflect only time spent with his client, but it weighs against
defendant’s assertion. (Doc. 296-2 at 2).
        Additionally, at his rearraignment, defendant indicated that he had gone over
the plea agreement with counsel, that counsel had explained it to him and answered
any questions he had. (Doc. 296-3 at 18). He also stated that he had discussed his

        1
         Defendant’s statem ents at the rearraignm ent proceeding were m ade under oath, and his § 2255
m otion was signed under penalty of perjury. Clearly these diam etrically opposed representations could not
both be correct. Defendant was warned at the rearraignm ent that untruthful answers could subject him to a
separate prosecution for perjury (doc. 296-3 at 3-4) and false statem ents on his § 2255 form likewise could
as well. However, it is not this court’s role to determ ine whether such charges will be filed.

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case fully with Mr. Couch and had no complaints at all about Mr. Couch’s assistance
to him, (id.). When given the opportunity to bring any dissatisfaction to the court’s
attention, defendant failed to do so, and the court cannot speculate what additional
benefit defendant thinks would have inured to him had he spent more time with his
attorney. Defendant has failed to show either that counsel’s performance was
deficient or that he was in any way prejudiced.


        Based on the foregoing, it is respectfully RECOMMENDED:
        The motion to vacate, set aside, or correct sentence (doc. 292) be DENIED.


        At Pensacola, Florida, this 5th day of February, 2010.




                                               /s/   Miles Davis
                                                     MILES DAVIS
                                                     UNITED STATES MAGISTRATE JUDGE



                                          NOTICE TO THE PARTIES

Any objections to these proposed findings and recommendations must be filed
within fourteen days after being served a copy thereof. Any different deadline that
may appear on the electronic docket is for the court’s internal use only, and does not
control. A copy of objections shall be served upon all other parties. Failure to
object may limit the scope of appellate review of factual findings. See 28 U.S.C. §
636; United States v. Roberts, 858 F.2d 698, 701 (11th Cir. 1988).




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